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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofVirginia
                                                                      __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-cr-10
                        Charles O'Neil                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States                                                                                                    .


Date:          01/10/2020                                                                s/ John P. Taddei
                                                                                         Attorney’s signature


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